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 8                           UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
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11    Drew Hill,                                              CASE NO. 12cv307-CAB (JMA)
12                                         Plaintiff,         ORDER GRANTING JOINT
             vs.                                              MOTION FOR DISMISSAL OF
13                                                            ACTION WITHPREJUDICE
      Allied International Credit Corporation,                [Doc. No. 19]
14
                                         Defendant.
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            Based upon the Joint Motion for Dismissal, and for good cause appearing, the Court GRANTS
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     the Joint Motion [Doc. No. 19]. Accordingly, this action is DISMISSED WITH PREJUDICE.
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     Further, the Court retains jurisdiction over any necessary enforcement of the settlement agreement
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     until December 18, 2012.
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            IT IS SO ORDERED.
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     DATED: October 18, 2012
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                                                    CATHY ANN BENCIVENGO
25                                                  United States District Judge

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